          An Analysis of Surveys Regarding Absentee Ballots In Wisconsin
                                                    William M. Briggs
                                                    November 23, 2020


1    Summary
Survey data was collected from individuals in Wisconsin, sampling those listed as not returning absentee ballots. The data
was provided by Matt Braynard.
    The survey asked respondents whether they (a) had ever requested an absentee ballot, and, if so, (b) whether they had
in fact returned this ballot. From this sample I produce predictions of the total numbers of: Error #1, those who were
recorded as receiving absentee ballots without requesting them; and Error #2, those who returned absentee ballots but
whose votes went missing (i.e. marked as unreturned).
    The sizes of both errors were large.


2    Analysis Description
The analysis used (a) the number of absentee ballots recorded as unreturned, (b) the total responding to the survey, (c) the
total of those saying they did not request a ballot, (d) the total of those saying they did request a ballot, and of these (e)
the number saying they returned their ballots. I assume survery respondents are representative and the data is accurate.
    From these data a simple parameter-free predictive model was used to calculate the probability of all possible outcomes.
Pictures of these probabilities were derived, and the 95% prediction interval of the relevant numbers was calculated. The
pictures appear in the Appendix at the end. They are summarized here with their 95% prediction intervals.
    Error #1: being recorded as sent an absentee ballot without requesting one.
    Error #2: sending back an absentee ballot and having it recorded as not returned.
    State         Unreturned ballots        Error #1         Error #2
    Wisconsin           96,771             16,316–19,273    13,991–16,757
    Ballots that were not requested, and ballots returned and marked as not returned were classed as troublesome. The
estimated average number of troublesome ballots were then calculated using the table above and are presented next.
    State         Unreturned ballots        Estimated average        Percent
                                           troublesome ballots
    Wisconsin             96,771                  29,594               31%


3    Conclusion
There are clearly a large number of troublesome ballots in Wisconsin. Ballots marked as not returned that were never
requested are clearly an error of some kind. The error is not small as a percent of the total recorded unreturned ballots.
    Ballots sent back and unrecorded is a separate error. These represent votes that have gone missing, a serious mistake.
The number of these missing ballots is also large.
    Survey respondents were not asked if they received an unrequested ballot whether they sent these ballots back. This is
clearly a lively possibility, and represents a third possible source of error, including the potential of voting twice (once by
absentee and once at the polls). No estimates or likelihood can be calculated for this potential error due to absence of data.


4    Declaration of William M. Briggs, PhD
1. My name is William M. Briggs. I am over 18 years of age and am competent to testify in this action. All of the facts
stated herein are true and based on my personal knowledge.
2. I received a Ph.D of Statistics from Cornell University in 2004.
3. I am currently a statistical consultant. I make this declaration in my personal capacity.
4. I have analyzed data regarding responses to questions relating to mail ballot requests, returns and related issues.
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5. I attest to a reasonable degree of professional certainty that the resulting analysis are accurate.
I declare under the penalty of perjury that the foregoing is true and correct.




                                             23 November 2020
    William M. Briggs


5           Appendix
The probability pictures for Wisconsin for each outcome as mentioned above.

                           Probability of numbers of un−requested absentee ballots listed as
                           not returned for Wisconsin
                  0.0005                      There is a 95 % chance from
                                              between 16316 and 19273
                  0.0004
                                              absentee ballots were not
    Probability




                  0.0003                      requested but marked as not
                                              returned
                  0.0002

                  0.0001

                  0.0000
                             0     10,000   20,000   30,000    40,000        50,000       60,000   70,000   80,000   90,000
                                                              Ballots Listed as Not Returned

                           Probability of numbers of absentee ballots returned but listed as
                           not returned for Wisconsin
                                            There is a 95 % chance from
                  0.0005
                                            between 13991 and 16757
                  0.0004                    absentee ballots were
    Probability




                  0.0003                    returned but marked as not
                                            returned
                  0.0002
                  0.0001
                  0.0000
                             0     10,000   20,000   30,000    40,000        50,000       60,000   70,000   80,000   90,000
                                                              Ballots Listed as Not Returned




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